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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

TIANA HILL,                         )
individually and as                 )
MOTHER and next friend of           )
baby D.H. her minor child           )
                                    )
                                    )        CIVIL ACTION FILE NO.:
                                    )        1:21-CV-05300-TWT
Plaintiffs,                         )
                                    )
v.                                  )
                                    )
CLAYTON COUNTY GEORGIA, )
CLAYTON COUNTY BOARD OF )
COMMISSIONERS,                      )
CLAYTON COUNTY SHERIFF              )
VICTOR HILL in his official and     )
individual capacities,              )
CORRECTHEALTH                       )
CLAYTON LLC,                        )
DR. CHARLES CLOPTON in his          )
official and individual capacities, )
JOHN DOES in their official and     )
individual capacities               )
                                    )
Defendants.                         )
_______________________________)

 PLAINTIFF’S OBJECTION TO DEFENDANT’S MOTION TO DISMISS
                  PLAINTIFF’S COMPLAINT

      COMES NOW Plaintiff’s Tiana Hill, individually and as Mother and next

friend of baby D.H. (hereinafter “Plaintiffs”) by and through undersigned counsel of




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record, and hereby file their objections to Defendant’s motion to dismiss Plaintiff’s

Complaint. Plaintiff’s request that this Court Deny Defendant’s motion.

      In support of this objection, Plaintiff’s rely upon the arguments and citations

to authority presented in the accompanying memorandum of law, which they file

contemporaneously with this motion. For the reasons more fully set forth in the

accompanying memorandum of law, defendant’s motion should be denied.

      Respectfully submitted this the 14th day of February 2022.

                                              /s/ Mitchell L. Albert III
                                              Mitchell L. Albert III
                                              Attorney for Plaintiff
                                              Georgia Bar No.: 307196


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                         CERTIFICATE OF SERVICE


      This is to certify that I, Mitchell L. Albert III, have this day electronically

submitted the forgoing served the foregoing     PLAINTIFF’S OBJECTION TO

DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT to the

Clerk of Court using the CM/ECF system which will automatically send electronic

mail notification of such filing to counsel of record who are CM/ECF participants:

                                A. Ali Sabzevari
                          Freeman Mathis & Gary, LLP
                           661 Forest Parkway, Suite E
                           Forest Park, Georgia 30297
                            asabzevari@fmglaw.com

      Respectfully submitted this the 14th day of February, 2022.

                                             /s/ Mitchell L. Albert III
                                             Mitchell L. Albert III
                                             Attorney for Plaintiff
                                             Georgia Bar No.: 307196


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